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                                                               7    GOLDEN BOY PROMOTIONS, INC.
                                                               8
                                                                                                  UNITED STATES DISTRICT COURT
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                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                               10
                                                                                                          EASTERN DIVISION
GREENBERG GLUSKER FIELDS CLAMAN




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                          2049 Century Park East, Suite 2600




                                                                    MOSES HEREDIA,                                Case No. 5:20-cv-02618-JWH-KKx
                            Los Angeles, California 90067
       & MACHTINGER LLP




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                                                                                            Plaintiff,            Assigned to Hon. John W. Holcomb
                                                               14
                                                                    v.                                            [PROPOSED] ORDER TO EXTEND
                                                               15                                                 DEFENDANT GOLDEN BOY
                                                                    MTK GLOBAL SPORTS                             PROMOTIONS, INC.’S TIME TO
                                                               16   MANAGEMENT, LLC; MTK                          RESPOND TO THIRD AMENDED
                                                                    GLOBAL USA, LLC; GOLDEN BOY                   COMPLAINT
                                                               17   PROMOTIONS, INC.; PAUL D.
                                                                    GIBSON; and DANIEL KINAHAN,
                                                               18                                                 Current
                                                                                            Defendants.           Response Date: May 13, 2022
                                                               19
                                                                                                                  New
                                                               20                                                 Response Date: May 27, 2022
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                                                                    17896-00636/4373461.1                                               [PROPOSED] ORDER
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                                                               1             Currently pending before the Court is the parties’ joint stipulation to extend
                                                               2    time to respond to the Third Amended Complaint. After considering the joint
                                                               3    stipulation, the Court orders that it is GRANTED as set forth herein:
                                                               4             IT IS HEREBY ORDERED that Defendant Golden Boy shall have an
                                                               5    extension through and including May 27, 2022, to respond to the Third Amended
                                                               6    Complaint.
                                                               7             IT IS SO ORDERED.
                                                               8
                                                                     Dated: ___________________
                                                               9
                                                               10
GREENBERG GLUSKER FIELDS CLAMAN




                                                               11                                              John W. Holcomb
                                                                                                               UNITED STATES DISTRICT JUDGE
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                          2049 Century Park East, Suite 2600
                            Los Angeles, California 90067
       & MACHTINGER LLP




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                                                                    17896-00636/4373461.1                                                  [PROPOSED] ORDER
